      Case 7:22-cv-01090-RDP-NAD Document 49 Filed 07/10/24 Page 1 of 2                                FILED
                                                                                               2024 Jul-10 PM 01:56
                                                                                              U.S. DISTRICT COURT
                                                                                                  N.D. OF ALABAMA


                           UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ALABAMA
                                WESTERN DIVISION

 QUIANA MATHEWS,                                 )
                                                 )
        Plaintiff,                               )
                                                 )
 v.                                              )    Case No. 7:22-cv-01090-RDP-NAD
                                                 )
 UNITED STATES OF AMERICA,                       )
                                                 )
        Defendant.                               )

                         MEMORANDUM OPINION AND ORDER

       Plaintiff Quiana Mathews filed this action, pro se, pursuant to the Federal Tort Claims Act

(“FTCA”). (Doc. 1). The Magistrate Judge entered a Report and Recommendation on June 10,

2024, recommending that the court deny the United States’ motion to dismiss or, in the alternative,

for summary judgment (Doc. 39); dismiss Mathews’ claims for intentional infliction of emotional

distress, failure to protect, negligent infliction of emotional distress, and negligent assault and

battery pursuant to 28 U.S.C. § 1915A; and refer Mathews’ remaining claims, for negligence,

assault and battery, and negligent supervision, to the Magistrate Judge for further proceedings.

Doc. 44. Although the parties were advised of their rights to file objections to the report and

recommendation within 14 days (id., at 20-21), that time expired and the court has not received

any objections.

       Having reviewed and considered de novo all the materials in the court file, including the

Report and Recommendation, the court ADOPTS the Magistrate Judge’s report, and ACCEPTS

the recommendation. Consistent with that recommendation, the court DENIES the United States’

motion to dismiss or, in the alternative, for summary judgment (Doc. 39); DISMISSES

WITHOUT PREJUDICE pursuant to 28 U.S.C. § 1915A Mathews’ claims for intentional
      Case 7:22-cv-01090-RDP-NAD Document 49 Filed 07/10/24 Page 2 of 2




infliction of emotional distress, failure to protect, negligent infliction of emotional distress, and

negligent assault and battery, for failing to state a claim upon which relief can be granted; and

REFERS Mathews’ remaining FTCA claims, for negligence, assault and battery, and negligent

supervision, to the magistrate judge for further proceedings.

       DONE and ORDERED this July 10, 2024.



                                              _________________________________
                                              R. DAVID PROCTOR
                                              CHIEF U.S. DISTRICT JUDGE




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